
*924FISHER, Circuit Judge,
concurring in part and dissenting in part:
Both the immigration judge (IJ) and the Board of Immigration Appeals (BIA) completely ignored our standards for adjudicating Convention Against Torture (CAT) claims as explicated in Kamalthas v. INS, 251 F.3d 1279 (9th Cir.2001). The IJ committed two interrelated errors, neither of which the BIA corrected. First, the IJ uncritically imported the adverse credibility determination from the asylum context into the CAT context. Second, the IJ failed to articulate with any specificity why the country conditions evidence of torture in Yemen, along with the other evidence in the record, did not suffice to establish Almaghzar’s CAT claim. Accordingly, although I concur in most of the other aspects of the majority’s opinion,1 I respectfully dissent from the majority’s holdings regarding Almaghzar’s CAT claim and would remand that claim to the BIA for reevaluation in light of Yemeni country conditions evidence.
Two years before Almaghzar’s 2003 hearing, Kamalthas held that “a claim under the Convention [Against Torture] is not merely a subset of claims for either asylum or withholding of removal,” but rather is an “analytically separate” claim. 251 F.3d at 1283. In a passage particularly relevant to the IJ’s treatment of Almaghzar’s CAT claim, Kamalthas stated that “[w]e are not comfortable with allowing a negative credibility determination in the asylum context to wash over the torture claim....” Id. at 1284 (quoting Mansour v. INS, 230 F.3d 902, 908 (7th Cir.2000)). Kamalthas further held that the BIA’s failure to consider country reports attesting to the likelihood that the petitioner would be tortured if removed to Sri Lanka was reversible error and vacated the BIA’s denial of a motion to reopen the petitioner’s case. See id. “[T]he Board abuse[s] its discretion in failing to recognize that country conditions alone can play a decisive role in granting relief under the Convention.” Id. at 1280 (emphasis added).
The similarities between this case and Kamalthas are striking. As the majority acknowledges, “[t]he IJ did not specifically discuss the documentary evidence [of torture in Yemen] in his oral decision.” (Op. at 922.) Neither did the BIA; indeed, the BIA did nothing more than note that Almaghzar had appealed the IJ’s CAT ruling and then went on to summarily deny that portion of his appeal.2 Further, just as *925in Kamalthas, the IJ in this case “plainly overrelied on [his] prior adverse credibility finding.” 251 F.3d at 1284. The IJ’s only discussion of Almaghzar’s CAT claim was a reiteration of all of the reasons he found Almaghzar not to be credible on his asylum claim:
I also find that there’s no basis to consider a claim under the Convention Against Torture because frankly, with the variety of stories that the Respondent has told, the misleading nature of his presentation about himself to the psychologist taken together with the fraud conviction that he has as well as the distribution of methamphetamine which was part and parcel to those fraud operations, that the Court does not place any credibility on any of the claims whatsoever. So there would be no basis to find a Convention Against Torture claim.
Kamalthas explicitly held that the BIA cannot deny relief “without recognizing the proper standard for establishing a prima facie case and giving weight to relevant country conditions,” id.; and it abuses its discretion “when it fail[s] to state its reasons and show proper consideration of all factors when weighing equities and denying relief,” id. (quoting Arrozal v. INS, 159 F.3d 429, 432 (9th Cir.1998)). Both the IJ and the BIA failed to recognize and apply the appropriate and distinct CAT standard, to consider relevant country conditions and to state their reasons why those conditions did not support Alamghzar’s claim that he could be tortured if returned to Yemen. Instead, both the IJ’s and the BIA’s rejections of Almaghzar’s CAT claim were based solely on the IJ’s asylum credibility findings. The majority errs in affirming these clear failures to abide by Kamalthas ’ mandates.
Almaghzar’s credibility is highly suspect — like that of young Mr. Kamalthas— and he may not be entitled to CAT relief on the merits even if Yemeni country reports and Dr. Givi’s testimony regarding post-traumatic stress disorder are credited. Nonetheless, notwithstanding “the high bar to obtaining relief under the Convention on the merits,” Kamalthas refused to rely on a CAT petitioner’s weighty burden of proof to justify a harmless error approach to the BIA’s lack of consideration of country conditions evidence. See id. “Indeed, proper attention to relevant country conditions might lend credence to [petitioner’s] assertions of torture and cause the BIA to view them in a different light.” Id.
Given that the Yemeni country conditions evidence in the record paints a bleak picture, the BIA’s assessment of Almagh-zar’s CAT claim might well be similarly influenced here. The 2002 Human Rights Watch country report on Yemen states that “[t]he security forces continued to exercise wide powers and to commit abuses, including arbitrary arrest, torture, and killings of civilians with virtual impunity.” The 2002 Amnesty International country report states that “[t]orture and a death in custody were reported.” And the 2002 United States State Department country report states that “[m]embers of the security forces tortured and otherwise abused persons, and continued to arrest and detain citizens arbitrarily.”
In any event, because neither the IJ nor the BIA addressed Yemen’s country conditions, we have no idea how either the IJ or the BIA evaluated those conditions as applied to Almaghzar; all we know is that *926they thought him to be not credible based on his asylum-related testimony. That is not enough, per Kamalthas.
The majority reasons that “[bjeeause Almaghzar was allowed to present evidence regarding his CAT claim, and because Almaghzar’s presentation was not limited in any meaningful respect, we reject Almaghzar’s due process claim.” (Op. at 921.) But there is a difference between merely allowing evidence to be presented and actually considering it. This distinction animates the rationale for reviewing an IJ’s decision when the BIA affirms without opinion — there is no BIA reasoning for us to review in such cases. Cf. Garrovillas v. INS, 156 F.3d 1010, 1013 (9th Cir.1998) (“The BIA’s opinion, however, cannot be mere boilerplate, and must describe with sufficient particularity and clarity the reasons for denial of asylum.”) (internal quotations omitted). Indeed in this case, there is no BIA reasoning for us to review on Amaghzar’s CAT claim, and the IJ’s reasoning on CAT consists solely of the conclusion that Almaghzar is not eligible for relief. It is hard to see how we can exercise our duty to perform any sort of meaningful review of the BIA’s or the IJ’s decisions if they simply assure us that they considered everything they were legally obligated to consider.3
Next, the majority rejects Almaghzar’s argument regarding the IJ’s use of boilerplate language because “8 C.F.R. § 1208.16(c)(3) ... does not require an IJ’s decision to discuss every piece of evidence; it requires only that the IJ consider all evidence.” (Op. at 922.) I find this argument unpersuasive and inconsistent with our case law. In the asylum context, 8 C.F.R. § 1208.13 plays a role analogous to that of 8 C.F.R. § 1208.16(c) in the CAT context; both elaborate procedures for the respective claims for relief. And just like § 1208.16(c), § 1208.13 by its terms does not require that “an IJ’s decision ... discuss every piece of evidence.”4 (Op. at 922.) Yet this court has repeatedly held that in the asylum context,
[t]he BIA must have a legitimate articu-lable basis to question the petitioner’s credibility, and must offer a specific, cogent reason for any stated disbelief. Furthermore, any such reasons must be substantial and bear a legitimate nexus to the finding. Generalized statements that do not identify specific examples of evasiveness or contradiction in the petitioner’s testimony prevent us from conducting a proper review.
Garrovillas, 156 F.3d at 1013 (internal citations and quotations omitted); see also Zahedi v. INS, 222 F.3d 1157, 1163 (9th Cir.2000); Lopez-Galarza v. INS, 99 F.3d 954, 963 (9th Cir.1996) (“We note that at a minimum, the BIA must provide an explanation sufficient to enable us as a reviewing court to see that the Board has heard, considered, and decided.”) (internal citations and quotation marks omitted). The majority gives no reasons why a CAT claim denial should be treated with so much deference — taking the IJ at his word *927that he considered all the evidence — while the denial of an asylum claim is scrutinized for specific, cogent reasons. The text of the respective regulations does not justify this divergent result.
The majority also states that “[bjecause there is no evidence that the IJ failed to consider Almaghzar’s documentary evidence, we accept the IJ’s general statement that he considered all the evidence before him.” (Op. at 922.) But even if we credit the IJ’s cursory statement that he had “considered all of the evidence, documentary and testimonial, whether or not ... specifically mention[edj” in his opinion, that statement does not satisfy the standard of review for CAT claims established in Kamalthas. Boilerplate rejections of CAT claims are not legally sufficient.
Kamalthas explicitly imported the abuse of discretion standard from the deportation (now removal) context into considerations of CAT claims: “we vacate the Board’s decision on the ground that ‘the BIA abuse[d] its discretion when it failed to state its reasons and show proper consideration of all factors when weighing equities and denying relief,’ and remand for further proceedings consistent with this opinion.” 251 F.3d at 1284 (quoting Arrozal, 159 F.3d at 432). Boilerplate statements by the BIA (or presumably the IJ) are by definition an abuse of discretion in the deportation context:
The BIA abuses its discretion when it fails to state its reasons and show proper consideration of all factors when weighing equities and denying relief.... Moreover, the BIA must indicate how it weighed these factors and indicate with specificity that it heard and considered petitioner’s claims. A conclusory statement by the BIA concerning favorable factors is insufficient.
Arrozal, 159 F.3d at 432-33 (internal citations and quotations omitted) (emphasis in original). This is no longer an issue of first impression, and the majority errs by ignoring the CAT standard of review established by Kamalthas.
The majority concludes that “neither Kamalthas nor due process requires an IJ to rely on that evidence to grant relief when the applicant is not credible,” (op. at 922), and “[bjecause Almaghzar’s testimony was found not credible, to reverse the BIA’s decision we would have to find that the reports alone compelled the conclusion that Almaghzar is more likely than not to be tortured” (op. at 922-23). Such conclusions miss the point of Kamalthas. Under Kamalthas, we must inquire whether the BIA treated a CAT claim as a subset of an asylum claim and permitted the adverse credibility finding in the asylum claim to “wash over” the CAT claim, or whether the BIA treated CAT as a separate legal basis for relief and reevaluated evidence that may have also been relevant in the asylum context, including an applicant’s credibility, in light of the distinct standard for relief mandated by CAT. See 251 F.3d at 1283-84. The majority commits the same error the BIA committed in Kamal-thas — it fails to recognize that there is not a single, general purpose adverse credibility determination applicable to both asylum and CAT claims. Rather, Kamalthas’s holding necessarily establishes the possibility that an applicant could be found to be not credible with respect to asylum, but credible with respect to CAT.
Lastly, the majority treads on dangerous ground by deciding the CAT issue in the first instance without being informed by an intervening BIA decision on the matter. Cf. INS v. Ventura, 537 U.S. 12, 123 S.Ct. 353, 154 L.Ed.2d 272 (2002) (per curiam) (holding that the BIA should be given the opportunity to exercise its exper*928tise in the first instance on an issue it had not addressed); Gonzales v. Thomas, — U.S. -, 126 S.Ct. 1613, 164 L.Ed.2d 358 (2006) (per curiam) (same). We do not know how the BIA would treat the country conditions evidence of torture in this case, and we do not know whether (or how) the BIA would reevaluate Almaghzar’s adverse credibility determination in the asylum context in light of the evidence of torture in Yemen. Therefore, under Kamalthas and pursuant to the direction given to this court in particular by the Supreme Court in Ventura and Thomas, the prudent course would be for us to remand the CAT claim to the BIA so that it can make a reasoned ruling in the first instance. On remand, the BIA should be instructed not to import the adverse credibility determination from the asylum context to Almaghzar’s CAT claim and to consider Yemeni country conditions explicitly and “with specificity.” Arrozal, 159 F.3d at 433.
I therefore respectfully dissent from the majority’s decision with respect to Almaghzar’s claim for relief under CAT.

. Although I ultimately concur in the majority’s result with respect to Almaghzar’s allegations of a denial of due process because of the IJ's partiality during the 2003 hearing, I do not endorse the IJ’s hostility, especially as directed towards Almaghzar's expert witness, Dr. Givi. The IJ made a snide comment about Dr. Givi being an expert in lying, blew up at Dr. Givi and badgered him on the stand without permitting him to answer the IJ's questions and implied that Dr. Givi was testifying on behalf of Almaghzar because of their shared Middle Eastern ethnicity. This behavior constituted more than mere “impatience,” (op. at 922); it was abusive and unprofessional.


. As in Kamalthas, the BIA did not just affirm the IJ, but wrote an opinion. Accordingly, we are bound to review the BIA's opinion in the first instance rather than the IJ’s ruling. See Albathani v. INS, 318 F.3d 365, 373 (9th Cir.2003) ("Ordinarily, Courts of Appeals review decisions of the [BIA], and not those of an IJ.”) (quoting Gao v. Ashcroft, 299 F.3d 266, 271 (3d Cir.2002)). However, in this case, the BIA's utter lack of analysis on the CAT issue leaves us no choice but to consider the IJ’s reasoning with respect to the CAT claim in order to understand the BIA’s reasons for affirming. Cf. Avetova-Elisseva v. INS, 213 F.3d 1192, 1197 (9th Cir.2000) (“[T]he BIA's ... phrasing seems in part to suggest that it did conduct an independent review of the record.... But the lack of analysis that the BIA opinion devoted to the issue at hand — its simple statement of a conclu*925sion — also suggests that the BIA gave significant weight to the IJ's findings. In light of that ambiguity, we will also look to the IJ’s oral decision as a guide to what lay behind the BIA’s conclusion.”) (internal citation omitted).


. In other contexts, we have been quite clear that there is a distinction between considering something and merely stating a conclusion. See, e.g., United States v. Howell, 231 F.3d 615, 621, 622 (9th Cir.2000) ("[I]n making a decision on whether to consider newly offered evidence, the district court must actually exercise its discretion, rather titan summarily accepting or denying the motion.'').


. In fact, § 1208.13 does not appear to include an analogue to § 1208.16(c)(3)’s directive that "all evidence relevant to the possibility of future torture shall be considered.” However, the REAL ID Act's revision of 8 U.S.C § 1158(b)(1) now instructs the trier of fact in asylum proceedings to "consider!] the totality of the circumstances” when making a credibility determination. 8 U.S.C § 1158(b)(l)(B)(iii) (2006).

